        Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 1 of 91




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

 SUPPLEMENTAL DECLARATION OF DAVID D. CROSS IN SUPPORT
  OF CURLING PLAINTIFFS’ SPECIAL MOTION FOR FEES UNDER
                      42 U.S.C. § 1988

I, David D. Cross, declare as follows:

       1.    I am a member of the bars of the State of New York and the District

of Columbia, a partner of Morrison & Foerster LLP, and lead counsel in this case

representing Plaintiffs Donna Curling, Donna Price, and Jeffrey Schoenberg (the

“Curling Plaintiffs”). I have been admitted pro hac vice in these proceedings. I

have personal knowledge of the facts in this declaration and, if called to testify as a

witness, I would testify under oath to these facts.

       2.    This Declaration supplements my previous declaration of October 15,

2019, (Dkt. No. 631 at 2-21), supports Curling Plaintiffs’ contemporaneously filed

Reply in Support of Motion for Attorneys’ Fees under 42 U.S.C. § 1988, and


                                           1
tk-757575
        Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 2 of 91




provides the basis for the revised amount of $3,641,780 in fees and $437,381.56 in

expenses currently requested.

Reasonableness of Additional Fees and Costs Not Claimed in Initial Motion

       3.    Morrison & Foerster now adds two items to its previous request.

       4.    First, it adds $126,045 in fees and $47,250 in expenses incurred in

connection with litigating this motion. I personally oversaw and directed the

drafting and filing of the briefs, declarations, and supporting exhibits filed in

connection with this motion.

       5.    Morrison & Foerster incurred but has not yet requested $126,045 in

fees from October 1, 2019, to present, to prepare the detailed specification and

itemization filed on October 15, 2019, and its supporting documentation, as well as

the contemporaneously filed reply brief and its supporting documentation. It also

incurred $47,250 in costs to compensate Mr. Harold Daniel for his expert analysis

and testimony confirming the reasonableness of Curling Plaintiffs’ revised fee

request. This cost is based on his standard rate of $1,050 and his confirmation that

he incurred 45 hours through the filing of his declaration. A true and correct copy

of a supplemental fee report covering the period from October 1, 2019, to January

21, 2020, is attached as Exhibit A.




                                           2
tk-757575
        Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 3 of 91




       6.      I believe these fees and costs are reasonable in light of: (i) my

professional experience in complex litigation matters; (ii) my review of the

relevant fee report; (iii) the complexity of the case; (iv) the volume of the billing

records; (v) and Defendants’ extensive obstruction and vexatious strategy.

       7.      These fees and costs should be considered part of the Fee and Cost

Recovery Stage (Stage IV, from July 28, 2019 – Present). The additional amount

of fees and costs that have been incurred since October 1, 2019, can thus be broken

down as follows:

   Additional Fees and Costs Incurred in Connection with Fees Motion (By Timekeeper) October 1, 2019 ‐
                                                 Present
       Timekeeper                    Role               Hours       Hourly Rate             Fees
 David Cross               Partner                         31.5             $1,065       $33,547.50
 Harold Daniel             Expert Witness                    45             $1,050       $47,250.00
 Austin Uhler              Junior Associate              162.75               $490       $79,747.50
 Jenna Conaway             Senior Paralegal                  34               $375       $12,750.00
 Total                                                   273.25                         $173,295.00



       8.      Second, because the Court ruled that it is premature to tax costs against

Defendants pursuant to the Bills of Costs that Curling Plaintiffs filed, Curling

Plaintiffs now seek to recover those costs, $52,787.64, (Dkt. No. 631 at 354), as part

of the current Section 1988 award. Much of the time incurred preparing the Bills of

Costs would have been incurred anyway in connection with the current fee request.

Regardless, if the Court chooses to exclude that time from the Section 1988 award,


                                                 3
tk-757575
        Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 4 of 91




a conservative estimate of fees incurred preparing the Bills of Costs is only

$8,653.75, as visible in further detail in Exhibit B. That represents less than 6% of

the $148,683.75 of total attorneys’ fees incurred during the Fee and Cost Recovery

Stage (Stage IV), from July 28, 2019, to present.

Withdrawal of Selected Fees and Expenses and Additional Documentation

       9.    To simplify the determination of a proper fee award, and to further

demonstrate billing judgment, Morrison & Foerster voluntarily withdraws its fees

and expenses incurred communicating with the press, even though this is well within

counsel’s usual responsibilities in high profile matters such as this and thus is work

for which counsel is usually compensated at their typical rates. This withdrawal

totals $46,849.03. A table summarizing each relevant task and expense is attached

as Exhibit C.

       10.   In combination with fees and expenses previously excluded in the

exercise of reasonable billing judgment (as outlined in my previous declaration of

October 15, 2019, Dkt. No. 631 at 15), Morrison & Foerster now excludes from its

request over 775 hours, valued at over $314,000, representing over 8.5% of the fees

for actual time worked on this case.

       11.   Finally, to supplement the extensive expense documentation already

submitted, true and correct copies of Morrison & Foerster’s attorney lodging


                                          4
tk-757575
        Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 5 of 91




invoices are attached as Exhibit D.

Overall Time, Expenses, and Costs

       12.   Overall, Morrison & Foerster now requests $3,641,780 in fees and

$437,381.56 in expenses.



       I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 21st day of January, 2020, in Washington, D.C.



                                      /s/ David D. Cross
                                      DAVID D. CROSS




                                        5
tk-757575
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 6 of 91




           EXHIBIT A
                   Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 7 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                           Page 1
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                           Description              Matter Number   Index
      10/1/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 57533385
     11/30/2019           Invoice=
                                                                    1            (




                                                                                 teleconference with D. Curling regarding fees
                                                                                 motion (0.5); correspond with D. Curling
                                                                                 regarding fees motion (0.5).

      10/1/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

      10/1/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




      10/1/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




      10/1/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=


      10/1/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




      10/2/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




      10/2/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=




      10/2/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

      10/2/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=


      10/2/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 57594968
     11/30/2019           Invoice=
                                                               0.75                                         correspond with D.
                                                                                 Curling and D. Cross regarding avoiding
                                                                                 duplicative requests in itemization for
                                                                                 attorneys' fees motion (0.75);




      10/2/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=
                   Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 8 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                          Page 2
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                           Description               Matter Number   Index
      10/2/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=




      10/2/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

      10/3/2019     20403 AUSTIN MICHAEL UHLER                                                                                  089828‐0000001 57572843
     11/30/2019           Invoice=
                                                               0.75

                                                                                       correspond with D. Curling regarding
                                                                               motion for attorneys' fees and issues aligning
                                                                               request with Coalition plaintiffs (0.75);




      10/3/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=




      10/3/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




      10/3/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=

      10/3/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

      10/3/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




      10/4/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




      10/4/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




      10/4/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

      10/4/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=

      10/4/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=
                   Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 9 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                             Page 3
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                            Description                 Matter Number   Index




      10/5/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




      10/5/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


      10/6/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




      10/7/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57572911
     11/30/2019           Invoice=
                                                                2.5




                                                                               correspond with J. Conaway regarding titles of
                                                                               timekeepers for efficient organization of fee
                                                                               detail (0.5); research case law regarding
                                                                               recoverable attorneys fees and expenses and
                                                                               acceptable formats of fee detail submission
                                                                               (2).

      10/7/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

      10/7/2019     19929 JENNA B. CONAWAY                                                                                         089828‐0000001 57601202
     11/30/2019           Invoice=
                                                               0.75


                                                                                                                     review list
                                                                               of all timekeepers and assist A. Uhler with
                                                                               filling in job titles (0.75).

      10/7/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=

      10/7/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


      10/8/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=

      10/8/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




      10/8/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57595006
     11/30/2019           Invoice=
                                                               6.25
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 10 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                             Page 4
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                           Description                Matter Number   Index




                                                                                                               research case law
                                                                                 in Eleventh Circuit regarding attorneys' fees
                                                                                 motions (2.5); draft D. Curling and D. Cross
                                                                                 declarations in support of attorneys' fees
                                                                                 motion (3.75).

      10/8/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




      10/8/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

      10/8/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

      10/8/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

      10/8/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

      10/8/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=

      10/9/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

      10/9/2019     19929 JENNA B. CONAWAY                                       Coordinate with team members to draft motion      089828‐0000001 57601204
     11/30/2019           Invoice=                                               and proposed for extension of time to file
                                                                    1            detailed fee statements and file via ECF (1.0).

      10/9/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=

      10/9/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57595007
     11/30/2019           Invoice=
                                                                11                         correspond with A. Sparks regarding
                                                                                 case law in support of detailed specification
                                                                                 and itemization in support of attorneys' fees
                                                                                 motion (0.5); draft detailed specification in
                                                                                 support of attorneys' fees motion (2); revise
                                                                                 declarations in support of attorneys' fees
                                                                                 motion (3.25); prepare summary tables for
                                                                                 declarations in support of attorneys' fees
                                                                                 motion based on detailed billing records (4.5);
                                                                                 correspond with D. Cross regarding key issues
                                                                                 related to detailed specification and
                                                                                 itemization and supporting materials in support
                                                                                 of attorneys' fees motion (0.75).

      10/9/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

      10/9/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

      10/9/2019     19898 DAVID D. CROSS                                         Attention to fees brief and communicate with      089828‐0000001 58092792
     12/31/2019           Invoice=                                               team, local counsel, and CP counsel regarding
                                                               1.25              same, review and analyze research regarding
                                                                                 same, and coordinate filing regarding
                                                                                 extension (1.25);
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 11 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                             Page 5
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                           Description                Matter Number   Index
     10/10/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/10/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57634411
     11/30/2019           Invoice=
                                                                4.5




                                                                                             conduct legal research in support
                                                                                 of attorneys' fees motion (1); draft
                                                                                 specification and itemization in support of
                                                                                 attorneys' fees motion (3); review extension of
                                                                                 deadline for attorneys' fees motion filings and
                                                                                 related correspondence (0.5).

     10/10/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




     10/11/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




     10/11/2019     20403 AUSTIN MICHAEL UHLER                                   Correspond with D. Curling regarding her          089828‐0000001 57646226
     11/30/2019           Invoice=                                               declaration in support of attorneys' fees
                                                                    7            motion (0.25); revise brief in support of
                                                                                 attorneys' fees motion (4); revise declarations
                                                                                 and embedded tables in support of attorneys'
                                                                                 fees motion (2.75);




     10/11/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


     10/12/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


     10/13/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


     10/13/2019     20403 AUSTIN MICHAEL UHLER                                   Revise brief in support of attorneys' fees        089828‐0000001 57646249
     11/30/2019           Invoice=                                               motion (2).
                                                                    2
     10/14/2019     20403 AUSTIN MICHAEL UHLER                                   Correspond with D. Curling regarding her          089828‐0000001 57646264
     11/30/2019           Invoice=                                               declaration in support of attorneys' fees
                                                              11.75              motion (0.75); revise D. Curling declaration in
                                                                                 support of attorneys' fees motion (1.75);
                                                                                 correspond with J. Conaway regarding underlying
                                                                                 billing records for attorneys' fees motion
                                                                                 (0.75); review billing records for attorneys'
                                                                                 fees motion (2); revise brief in support of
                                                                                 attorneys' fees motion (3.75); revise D. Cross
                                                                                 declarations and embedded tables in support of
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 12 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                             Page 6
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                           Description                Matter Number   Index
                                                                                 attorneys' fees motion (2.5); correspond with
                                                                                 D. Cross regarding attorneys' fees motion
                                                                                 (0.25).

     10/14/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=




     10/14/2019     19929 JENNA B. CONAWAY                                       Coordinate with G. Meija to prepare updated       089828‐0000001 57843835
     11/30/2019           Invoice=                                               fees and costs reports.
                                                               0.25
     10/14/2019     19898 DAVID D. CROSS                                                                    ; review and revise    089828‐0000001 58092805
     12/31/2019           Invoice=                                               fee filing materials and communicate with team
                                                                    1            regarding same (1).

     10/15/2019     19898 DAVID D. CROSS                                         Review and revise fee filing materials and        089828‐0000001 58092808
     12/31/2019           Invoice=                                               discuss same with team (1.5);
                                                                1.5




     10/15/2019     19929 JENNA B. CONAWAY                                                                 ); revise Curling       089828‐0000001 57844080
     11/30/2019           Invoice=                                               Declaration ISO Detailed Fee Statement (0.25);
                                                               9.75              coordinate with L. Turner and G. Meija to
                                                                                 incorporate additional time entries and pull
                                                                                 updated fees report (0.75); finalize
                                                                                 declarations and supporting exhibits and
                                                                                 documentation (4.75); review and edit brief for
                                                                                 Detailed Fees Statement (1.25); coordinate with
                                                                                 A. Uhler and D. Cross regarding ECF filing
                                                                                 procedure (0.25); redact time entries,
                                                                                 invoices, and supporting documentation not
                                                                                 included in the Detailed Fees Statement (2.5).

     10/15/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

     10/15/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=




     10/15/2019     20403 AUSTIN MICHAEL UHLER                                   Revise D. Curling declaration in support of       089828‐0000001 57646327
     11/30/2019           Invoice=                                               attorneys' fees motion (1); correspond with D.
                                                              11.75              Curling regarding same (0.5); draft B. Ward
                                                                                 declaration in support of attorneys' fees
                                                                                 motion (1); correspond with B. Ward regarding
                                                                                 same (0.25); correspond with Coalition
                                                                                 attorneys to align requested attorneys' fees
                                                                                 (0.5); correspond with A. Sparks regarding
                                                                                 Krevolin & Horst billing records and
                                                                                 declaration in support of attorneys' fees
                                                                                 motion (0.5); teleconference with A. Sparks
                                                                                 regarding same (0.25); correspond with D. Cross
                                                                                 regarding attorneys' fees motion (0.5); revise
                                                                                 brief in support of same (1.5); correspond with
                                                                                 A. Miriyala regarding same (0.5); revise D.
                                                                                 Cross declarations and embedded tables in
                                                                                 support of same (4.5); correspond with J.
                                                                                 Conaway regarding steps to finalize same
                                                                                 (0.75).

     10/15/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=


     10/16/2019     20403 AUSTIN MICHAEL UHLER                                   Revise D. Curling declaration in support of       089828‐0000001 57657078
     11/30/2019           Invoice=                                               attorneys' fees motion (1.5); correspond with
                                                                5.5              D. Curling and D. Cross regarding same (0.25);
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 13 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                          Page 7
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                             Description             Matter Number   Index
                                                                               correspond with A. Sparks regarding Krevolin &
                                                                               Horst billing records and declaration in
                                                                               support of attorneys' fees motion (0.25);
                                                                               correspond with D. Cross regarding attorneys'
                                                                               fees motion (0.25); revise brief in support of
                                                                               same (1); revise D. Cross declarations and
                                                                               embedded tables in support of same (1.5);
                                                                               correspond with J. Conaway regarding redaction
                                                                               of exhibits and filing of same (0.5);
                                                                               teleconference with J. Conaway regarding same
                                                                               (0.25).

     10/16/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/16/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=

     10/16/2019     19898 DAVID D. CROSS                                       Attention to fee filing (0.5);                   089828‐0000001 58092812
     12/31/2019           Invoice=
                                                                0.5


     10/17/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/18/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

     10/18/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/18/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/19/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/21/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=


     10/21/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=


     10/21/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/22/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=

     10/22/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 14 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                     Page 8
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index




     10/22/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=


     10/22/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

     10/23/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/23/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=

     10/23/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




     10/23/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=

     10/23/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=

     10/23/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=


     10/23/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/24/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/24/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

     10/24/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=

     10/24/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=


     10/24/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=

     10/24/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/25/2019     20403 AUSTIN MICHAEL UHLER
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 15 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                     Page 9
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials       Name / Invoice Number      Hours    Amount                   Description   Matter Number   Index
     11/30/2019              Invoice=




     10/25/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




     10/25/2019     21110 JOHN P. CARLIN
     11/30/2019           Invoice=

     10/25/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=




     10/25/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/27/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=


     10/28/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=


     10/28/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




     10/28/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/28/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=


     10/28/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=


     10/28/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

     10/28/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

     10/28/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=


     10/28/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/29/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     10/29/2019     20386 ARVIND S. MIRIYALA
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 16 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 10
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials       Name / Invoice Number      Hours    Amount                   Description   Matter Number   Index
     11/30/2019              Invoice=

     10/29/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=




     10/29/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/29/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/29/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

     10/29/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=




     10/29/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=


     10/29/2019     19972 JANE P. BENTROTT
     11/30/2019           Invoice=

     10/30/2019     23662 REEMA S. ALI
     11/30/2019           Invoice=

     10/30/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=




     10/30/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/30/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

     10/30/2019     22270 ROB MANOSO
     11/30/2019           Invoice=


     10/30/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=

     10/30/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=


     10/30/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=

     10/31/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=

     10/31/2019     19971 MARY G. KAISER
     11/30/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 17 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 11
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index




     10/31/2019     19929 JENNA B. CONAWAY
     11/30/2019           Invoice=

     10/31/2019     20386 ARVIND S. MIRIYALA
     11/30/2019           Invoice=

     10/31/2019     20403 AUSTIN MICHAEL UHLER
     11/30/2019           Invoice=




     10/31/2019     23612 EILEEN M. BROGAN
     11/30/2019           Invoice=




     10/31/2019     22270 ROB MANOSO
     11/30/2019           Invoice=

      11/1/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/1/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




      11/1/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

      11/1/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




      11/1/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=




      11/2/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

      11/2/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=

      11/3/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=

      11/3/2019     22270 ROB MANOSO
     12/31/2019           Invoice=

      11/3/2019     23612 EILEEN M. BROGAN
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 18 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 12
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials       Name / Invoice Number      Hours    Amount                   Description   Matter Number   Index
     12/31/2019              Invoice=

      11/4/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=




      11/4/2019     22270 ROB MANOSO
     12/31/2019           Invoice=

      11/4/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=

      11/4/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=

      11/4/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

      11/4/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/5/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/5/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=




      11/6/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=


      11/6/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=




      11/6/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

      11/6/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=

      11/6/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 19 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 13
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index
      11/7/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/7/2019     21110 JOHN P. CARLIN
     12/31/2019           Invoice=

      11/8/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/9/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      11/9/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=

     11/10/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/11/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/11/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=


     11/11/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

     11/11/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=

     11/11/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=




     11/11/2019     10193 JOAN D. LOFTUS
     12/31/2019           Invoice=

     11/11/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/12/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/12/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 20 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                          Page 14
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                           Description                Matter Number   Index
     11/12/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/12/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/13/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/13/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=


     11/13/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/13/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

     11/13/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/14/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/14/2019     19898 DAVID D. CROSS                                                                                         089828‐0000001 58325799
     12/31/2019           Invoice=
                                                               0.75


                                                                                                 review and analyze responses
                                                                               to fee motion and communicate with team
                                                                               regarding same (0.75).

     11/14/2019     21941 MICHAEL STOLER
     12/31/2019           Invoice=

     11/14/2019     23432 CHRISTINE MICHEL LENTZ
     12/31/2019           Invoice=


     11/14/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=


     11/14/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 57941803
     12/31/2019           Invoice=
                                                               1.25
                                                                                                                   correspond
                                                                               with A. Sparks regarding attorneys' fees case
                                                                               law in the northern district of Georgia (0.25);
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 21 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                            Page 15
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                            Description               Matter Number   Index
                                                                                 listen to recording of panel of sitting judges
                                                                                 discussing best practices for attorneys' fees
                                                                                 petitions in anticipation of reply in support
                                                                                 of attorneys' fees motion (1).

     11/14/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/14/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=




     11/15/2019     23432 CHRISTINE MICHEL LENTZ
     12/31/2019           Invoice=

     11/15/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/15/2019     20403 AUSTIN MICHAEL UHLER                                   Review state and county defendants' responses     089828‐0000001 57941804
     12/31/2019           Invoice=                                               in opposition to plaintiffs motions for
                                                               5.75              attorneys' fees (3.25); correspond with D.
                                                                                 Cross regarding same (0.5); draft reply brief
                                                                                 (1); research applicable case law on attorneys'
                                                                                 fees issues (1).

     11/15/2019     21941 MICHAEL STOLER
     12/31/2019           Invoice=

     11/15/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=


     11/15/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/15/2019     19898 DAVID D. CROSS                                                                                           089828‐0000001 58325801
     12/31/2019           Invoice=                                                               review and analyze responses to
                                                                    1            fee motion and communicate with team regarding
                                                                                 same (1);




     11/15/2019     20516 BRIAN WILLIAM HART
     12/31/2019           Invoice=

     11/16/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57985815
     12/31/2019           Invoice=
                                                                1.5




                                                                                 review Defendants' opposition briefs to
                                                                                 attorneys' fees motion (1); draft reply brief
                                                                                 in support of attorneys' fees motion (0.5).

     11/17/2019     20403 AUSTIN MICHAEL UHLER                                   Review opposition briefs to attorneys' fees       089828‐0000001 57985887
     12/31/2019           Invoice=                                               motion (1); draft reply brief in support of
                                                               4.75              attorneys' fees motion (3.75).

     11/18/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=


     11/18/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 22 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                            Page 16
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                            Description               Matter Number   Index
     11/18/2019     20403 AUSTIN MICHAEL UHLER                                   Research case law in support of attorneys' fees   089828‐0000001 57985881
     12/31/2019           Invoice=                                               reply (0.75).
                                                               0.75
     11/18/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=

     11/18/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

     11/18/2019     19898 DAVID D. CROSS                                         Coordinate work on fee motion reply, and review   089828‐0000001 58325804
     12/31/2019           Invoice=                                               and analyze research regarding same (2);
                                                                    2

                                                                                                      .

     11/19/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     11/19/2019     19929 JENNA B. CONAWAY
     12/31/2019           Invoice=

     11/19/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




     11/19/2019     24065 VICTORIA GOLDBERG
     12/31/2019           Invoice=

     11/19/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=




     11/19/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

     11/19/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 57985885
     12/31/2019           Invoice=
                                                                    1                          research case law in support of
                                                                                 attorneys' fees reply (1).

     11/19/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/19/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=


     11/20/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=

     11/20/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 23 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                              Page 17
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                               Description              Matter Number   Index


     11/20/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/20/2019     20403 AUSTIN MICHAEL UHLER                                   Research case law in support of attorneys' fees     089828‐0000001 57985886
     12/31/2019           Invoice=                                               reply (3.5); draft reply brief in support of
                                                               9.75              attorneys' fees motion (6.25).

     11/20/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




     11/20/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     11/21/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=


     11/21/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/21/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=




     11/21/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=

     11/21/2019     20403 AUSTIN MICHAEL UHLER                                                                                       089828‐0000001 57997917
     12/31/2019           Invoice=
                                                                    2




                                                                                                        revise reply in support of
                                                                                 attorneys' fees (2).

     11/22/2019     20403 AUSTIN MICHAEL UHLER                                                                                       089828‐0000001 58030139
     12/31/2019           Invoice=
                                                               1.75




                                                                                                        ; revise reply brief in
                                                                                 support of motion for attorneys' fees (1.75).

     11/22/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/22/2019     22183 HANAE CHARLOTTE FUJINAMI
     12/31/2019           Invoice=

     11/22/2019     23662 REEMA S. ALI
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 24 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                          Page 18
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials       Name / Invoice Number      Hours     Amount                            Description               Matter Number   Index
     12/31/2019              Invoice=


     11/22/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=

     11/22/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




     11/22/2019     19972 JANE P. BENTROTT
     12/31/2019           Invoice=




     11/24/2019     21110 JOHN P. CARLIN
     12/31/2019           Invoice=

     11/24/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=


     11/24/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 58030140
     12/31/2019           Invoice=                                                            ; review corrected filing from
                                                                1.5            county defendants opposing attorneys' fees
                                                                               motion (0.25);
                                                                                                   ; review case record for
                                                                               supporting evidence in support of attorneys'
                                                                               fees reply (0.75); revise attorneys' fees reply
                                                                               (0.5).

     11/25/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 58030141
     12/31/2019           Invoice=
                                                               5.75




                                                                               revise attorneys' fees reply (5.75).

     11/25/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=




     11/25/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/25/2019     15792 MICHAEL E. WILLENS
     12/31/2019           Invoice=

     11/25/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




     11/25/2019     20386 ARVIND S. MIRIYALA
     12/31/2019           Invoice=

     11/25/2019     19929 JENNA B. CONAWAY
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 25 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 19
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials       Name / Invoice Number      Hours    Amount                   Description   Matter Number   Index
     12/31/2019              Invoice=

     11/25/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     11/26/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=




     11/26/2019     23612 EILEEN M. BROGAN
     12/31/2019           Invoice=




     11/26/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/26/2019     22183 HANAE CHARLOTTE FUJINAMI
     12/31/2019           Invoice=


     11/26/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=


     11/26/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=




     11/27/2019     22183 HANAE CHARLOTTE FUJINAMI
     12/31/2019           Invoice=

     11/27/2019     19971 MARY G. KAISER
     12/31/2019           Invoice=

     11/27/2019     23662 REEMA S. ALI
     12/31/2019           Invoice=


     11/27/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/27/2019     19898 DAVID D. CROSS
     12/31/2019           Invoice=
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 26 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 20
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index



     11/28/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




     11/28/2019     22183 HANAE CHARLOTTE FUJINAMI
     12/31/2019           Invoice=


     11/29/2019     22183 HANAE CHARLOTTE FUJINAMI
     12/31/2019           Invoice=

     11/29/2019     20403 AUSTIN MICHAEL UHLER
     12/31/2019           Invoice=




      12/1/2019     19971 MARY G. KAISER


      12/1/2019     20403 AUSTIN MICHAEL UHLER




      12/1/2019     19898 DAVID D. CROSS

      12/2/2019     19898 DAVID D. CROSS




      12/2/2019     22183 HANAE CHARLOTTE FUJINAMI




      12/2/2019     19971 MARY G. KAISER




      12/2/2019     13085 LAURA RAY

      12/2/2019     20403 AUSTIN MICHAEL UHLER




      12/2/2019     23612 EILEEN M. BROGAN




      12/2/2019     19929 JENNA B. CONAWAY




      12/3/2019     20403 AUSTIN MICHAEL UHLER
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 27 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 21
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index




      12/3/2019     22183 HANAE CHARLOTTE FUJINAMI




      12/3/2019     19971 MARY G. KAISER




      12/3/2019     19898 DAVID D. CROSS




      12/4/2019     19898 DAVID D. CROSS




      12/4/2019     20403 AUSTIN MICHAEL UHLER




      12/4/2019     19971 MARY G. KAISER




      12/4/2019     22183 HANAE CHARLOTTE FUJINAMI


      12/4/2019     19929 JENNA B. CONAWAY




      12/5/2019     19929 JENNA B. CONAWAY




      12/5/2019     22183 HANAE CHARLOTTE FUJINAMI

      12/5/2019     19971 MARY G. KAISER
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 28 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 22
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index



      12/5/2019     20403 AUSTIN MICHAEL UHLER




      12/5/2019     20101 ANN‐MARIE BERTI CABIC

      12/5/2019     19898 DAVID D. CROSS




      12/5/2019     20386 ARVIND S. MIRIYALA


      12/6/2019     20386 ARVIND S. MIRIYALA




      12/6/2019     19898 DAVID D. CROSS




      12/6/2019     20403 AUSTIN MICHAEL UHLER


      12/6/2019     19971 MARY G. KAISER




      12/6/2019     14906 YUMIKO DOWNIE‐BLACKWELL




      12/6/2019     19929 JENNA B. CONAWAY




      12/8/2019     19971 MARY G. KAISER




      12/8/2019     20403 AUSTIN MICHAEL UHLER


      12/8/2019     19898 DAVID D. CROSS




      12/8/2019     23612 EILEEN M. BROGAN




      12/9/2019     23612 EILEEN M. BROGAN


      12/9/2019     23612 EILEEN M. BROGAN




      12/9/2019     24065 VICTORIA GOLDBERG
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 29 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                         Page 23
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                            Description              Matter Number   Index



      12/9/2019     24065 VICTORIA GOLDBERG




      12/9/2019     19929 JENNA B. CONAWAY




      12/9/2019     19898 DAVID D. CROSS




      12/9/2019     20403 AUSTIN MICHAEL UHLER




      12/9/2019     23662 REEMA S. ALI


      12/9/2019     19971 MARY G. KAISER




     12/10/2019     19971 MARY G. KAISER




     12/10/2019     20403 AUSTIN MICHAEL UHLER                                                                                  089828‐0000001 58223036
                                                                1.5


                                                                                                        revise reply brief in
                                                                               support of attorneys' fees motion (1.5).

     12/10/2019     19898 DAVID D. CROSS




     12/10/2019     23662 REEMA S. ALI


     12/10/2019     19929 JENNA B. CONAWAY




     12/10/2019     23612 EILEEN M. BROGAN


     12/11/2019     23612 EILEEN M. BROGAN
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 30 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                            Page 24
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                            Description                 Matter Number   Index




     12/11/2019     23662 REEMA S. ALI




     12/11/2019     19929 JENNA B. CONAWAY

     12/11/2019     19898 DAVID D. CROSS




     12/11/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 58223147
                                                                1.5
                                                                                                           revise reply brief
                                                                               in support of attorneys' fees (1.5).

     12/11/2019     19284 JOSEPH R. PALMORE


     12/11/2019     14906 YUMIKO DOWNIE‐BLACKWELL




     12/11/2019     19971 MARY G. KAISER




     12/12/2019     19971 MARY G. KAISER




     12/12/2019     20403 AUSTIN MICHAEL UHLER                                                                                     089828‐0000001 58287472
                                                               0.25

                                                                                                                        ; revise
                                                                               reply brief in support of attorneys' fees
                                                                               (0.25);




     12/12/2019     19898 DAVID D. CROSS




     12/12/2019     19929 JENNA B. CONAWAY


     12/12/2019     23612 EILEEN M. BROGAN




     12/12/2019     23662 REEMA S. ALI




     12/13/2019     23662 REEMA S. ALI
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 31 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                    Page 25
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours    Amount                   Description   Matter Number   Index


     12/13/2019     23612 EILEEN M. BROGAN




     12/13/2019     21941 MICHAEL STOLER


     12/13/2019     22183 HANAE CHARLOTTE FUJINAMI




     12/13/2019     19929 JENNA B. CONAWAY




     12/13/2019     20386 ARVIND S. MIRIYALA

     12/13/2019     19898 DAVID D. CROSS


     12/13/2019     19971 MARY G. KAISER




     12/13/2019     20403 AUSTIN MICHAEL UHLER




     12/14/2019     20403 AUSTIN MICHAEL UHLER




     12/14/2019     19971 MARY G. KAISER




     12/14/2019     21941 MICHAEL STOLER


     12/14/2019     23612 EILEEN M. BROGAN


     12/14/2019     23662 REEMA S. ALI


     12/14/2019     20386 ARVIND S. MIRIYALA


     12/15/2019     20386 ARVIND S. MIRIYALA

     12/15/2019     19929 JENNA B. CONAWAY

     12/15/2019     19971 MARY G. KAISER




     12/15/2019     19898 DAVID D. CROSS


     12/15/2019     20403 AUSTIN MICHAEL UHLER




     12/16/2019     20403 AUSTIN MICHAEL UHLER
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 32 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                          Page 26
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                           Description                Matter Number   Index



     12/16/2019     19971 MARY G. KAISER


     12/16/2019     19898 DAVID D. CROSS




     12/16/2019     13085 LAURA RAY




     12/16/2019     19929 JENNA B. CONAWAY




     12/16/2019     20386 ARVIND S. MIRIYALA




     12/16/2019     23662 REEMA S. ALI

     12/16/2019     23612 EILEEN M. BROGAN




     12/17/2019     20386 ARVIND S. MIRIYALA

     12/17/2019     19929 JENNA B. CONAWAY


     12/17/2019     19898 DAVID D. CROSS




     12/17/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 58314706
                                                                2.5




                                                                                                                      ; revise
                                                                               attorneys' fees motion (2.5).

     12/17/2019     19971 MARY G. KAISER




     12/18/2019     19971 MARY G. KAISER




     12/18/2019     20403 AUSTIN MICHAEL UHLER                                                                                   089828‐0000001 58345231
                                                                4.5
                                                                                                    revise reply brief in
                                                                               support of motion for attorneys' fees (4.5).

     12/18/2019     19929 JENNA B. CONAWAY




     12/18/2019     19898 DAVID D. CROSS
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 33 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                              Page 27
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                            Description                 Matter Number   Index




     12/19/2019     19898 DAVID D. CROSS




     12/19/2019     20403 AUSTIN MICHAEL UHLER                                                                                       089828‐0000001 58345263
                                                                    1                                ; revise reply brief in
                                                                                 support of motion for attorneys' fees (1).

     12/19/2019     19971 MARY G. KAISER


     12/20/2019     20403 AUSTIN MICHAEL UHLER                                                                                       089828‐0000001 58345346
                                                               2.75                                                              ;
                                                                                 revise reply brief in support of motion for
                                                                                 attorneys' fees (2.75).

     12/20/2019     19971 MARY G. KAISER


     12/20/2019     19898 DAVID D. CROSS




     12/22/2019     20403 AUSTIN MICHAEL UHLER                                                                                       089828‐0000001 58345317
                                                                    1

                                                                                                  revise reply brief in support
                                                                                 of attorneys' fees motion and correspond with
                                                                                 D. Cross regarding same (1).

     12/22/2019     19898 DAVID D. CROSS                                         Attention to fees reply and communicate with        089828‐0000001 58409336
                                                                0.5              team and local counsel regarding same.

     12/23/2019     20403 AUSTIN MICHAEL UHLER                                   Correspond with D. Cross regarding reply in         089828‐0000001 58376445
                                                                7.5              support of attorneys' fees (0.25); research
                                                                                 case law in support of reply brief (0.75);
                                                                                 draft D. Cross declaration in support of same
                                                                                 (0.75); revise reply brief (5.75).

     12/23/2019     19898 DAVID D. CROSS                                         Further attention to fees reply and communicate     089828‐0000001 58409353
                                                                0.5              with team and local counsel regarding same
                                                                                 (0.5);


     12/24/2019     20403 AUSTIN MICHAEL UHLER                                   Revise reply brief in support of attorneys'         089828‐0000001 58376415
                                                                    4            fees motion and correspond with D. Cross
                                                                                 regarding same (4).

     12/24/2019     19971 MARY G. KAISER


     12/26/2019     23662 REEMA S. ALI


     12/27/2019     19898 DAVID D. CROSS                                         Review and revise draft fees filing.                089828‐0000001 58409358
                                                                    1
     12/28/2019     19898 DAVID D. CROSS

     12/28/2019     20403 AUSTIN MICHAEL UHLER                                   Review correspondence regarding attorneys' fees     089828‐0000001 58377468
                                                                0.5              expert (0.25);
                                                                                              ; correspond with D. Cross
                                                                                 regarding fees reply (0.25).

     12/29/2019     20403 AUSTIN MICHAEL UHLER                                   Draft declaration in support of attorneys' fees     089828‐0000001 58378620
                                                               7.25              reply (2); review underlying documentation and
                                                                                 draft supporting itemizations (3); revise reply
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 34 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                           Page 28
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                           Description               Matter Number   Index
                                                                                 brief (1.75); research case law on attorneys'
                                                                                 fees motion (0.5).

     12/29/2019     19898 DAVID D. CROSS




     12/30/2019     19898 DAVID D. CROSS




     12/30/2019     20403 AUSTIN MICHAEL UHLER                                   Draft expert declaration in support of           089828‐0000001 58389933
                                                                    3            attorneys' fees motion (1.5); research caselaw
                                                                                 in support of same (1); revise reply brief in
                                                                                 support of same (0.5).

     12/30/2019     23612 EILEEN M. BROGAN


     12/31/2019     20403 AUSTIN MICHAEL UHLER                                   Revise expert declaration in support of          089828‐0000001 58389941
                                                               0.25              attorneys' fees motion (0.25);




     12/31/2019     20386 ARVIND S. MIRIYALA

     12/31/2019     19971 MARY G. KAISER




     12/31/2019     19898 DAVID D. CROSS




     12/31/2019     19929 JENNA B. CONAWAY




       1/1/2020     19898 DAVID D. CROSS




       1/2/2020     19898 DAVID D. CROSS




       1/2/2020     23662 REEMA S. ALI

       1/3/2020     19898 DAVID D. CROSS                                                                                          089828‐0000001 58501106
                                                               0.75
                                                                                                                  ; review and
                                                                                 revise draft fees request and communicate with
                                                                                 team regarding same (0.75);




       1/4/2020     20386 ARVIND S. MIRIYALA
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 35 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                         Page 29
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours     Amount                           Description               Matter Number   Index


       1/5/2020     19898 DAVID D. CROSS                                                                                        089828‐0000001 58501107
                                                               2.25
                                                                                    ; review revised fees request (2.25).

       1/6/2020     19929 JENNA B. CONAWAY


       1/6/2020     20403 AUSTIN MICHAEL UHLER                                                                                  089828‐0000001 58435873
                                                                3.5
                                                                               revise outline of fee expert declaration (1);
                                                                               revise supplemental D. Cross declaration in
                                                                               support of fee reply (1.25); revise motion for
                                                                               excess pages and proposed order in support of
                                                                               same (0.5); revise fee reply brief (0.75).

       1/6/2020     19898 DAVID D. CROSS




       1/6/2020     19971 MARY G. KAISER




       1/6/2020     20386 ARVIND S. MIRIYALA


       1/7/2020     20386 ARVIND S. MIRIYALA




       1/7/2020     19898 DAVID D. CROSS




       1/7/2020     19971 MARY G. KAISER




       1/7/2020     20403 AUSTIN MICHAEL UHLER




       1/7/2020     23662 REEMA S. ALI

       1/7/2020     19929 JENNA B. CONAWAY




       1/8/2020     19929 JENNA B. CONAWAY




       1/8/2020     23662 REEMA S. ALI
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 36 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                            Page 30
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


     Date         Initials     Name / Invoice Number        Hours       Amount                            Description               Matter Number   Index


       1/8/2020     19971 MARY G. KAISER




       1/8/2020     20403 AUSTIN MICHAEL UHLER                                   Review correspondence with fees expert H.         089828‐0000001 58485402
                                                               0.25              Daniel (0.25);

                                                                                                                   .

       1/8/2020     19898 DAVID D. CROSS                                                                                           089828‐0000001 58445573
                                                                    1

                                                                                 communicate with CP counsel and Court regarding
                                                                                 fees brief extension, and review filing
                                                                                 regarding same (1);




       1/8/2020     20386 ARVIND S. MIRIYALA


       1/9/2020     19971 MARY G. KAISER


       1/9/2020     19898 DAVID D. CROSS                                         Prepare for and participate in call with fees     089828‐0000001 58467552
                                                               1.25              expert and local counsel (1.0);


                                                                                                            ; review order
                                                                                 regarding fees reply and communicate with team
                                                                                 regarding same (0.25).

       1/9/2020     23662 REEMA S. ALI




       1/9/2020     19929 JENNA B. CONAWAY




       1/9/2020     20403 AUSTIN MICHAEL UHLER


      1/10/2020     19929 JENNA B. CONAWAY




      1/10/2020     23662 REEMA S. ALI




      1/10/2020     19898 DAVID D. CROSS                                                                                           089828‐0000001 58501108
                                                                0.5

                                                                                                                  review fees
                                                                                 reply (0.5).

      1/10/2020     19971 MARY G. KAISER




      1/13/2020     19971 MARY G. KAISER




      1/13/2020     19898 DAVID D. CROSS                                         Work on fees request.                             089828‐0000001 58501109
                                                                    1
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 37 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                                   Page 31
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


      Date        Initials     Name / Invoice Number        Hours       Amount                           Description                     Matter Number    Index


      1/14/2020     19898 DAVID D. CROSS                                                                                                089828‐0000001   58501110
                                                                2.5

                                                                                                                           work
                                                                                 on fees request and communicate with team,
                                                                                 local counsel, and CP counsel regarding same (1.25);
                                                                                 review and revise draft motion for excess pages
                                                                                 and communicate with team regarding same (1.25);




      1/14/2020     23662 REEMA S. ALI

      1/14/2020     19929 JENNA B. CONAWAY


      1/14/2020     19971 MARY G. KAISER                                                                                                089828‐0000001   58501112
                                                               0.25                                                    correspond
                                                                                 with MoFo team regarding motion for excess
                                                                                 pages for attorneys' fees reply brief (0.25).

      1/14/2020     20403 AUSTIN MICHAEL UHLER


      1/15/2020     20403 AUSTIN MICHAEL UHLER                                   Correspond with D. Cross and Coalition                 089828‐0000001   58495391
                                                               1.25              attorneys regarding motion for excess pages for
                                                                                 fees reply (0.5); revise and finalize same
                                                                                 (0.75);


      1/15/2020     19971 MARY G. KAISER                                                                                                089828‐0000001   58501113
                                                               0.25                                               correspond
                                                                                 with MoFo team regarding attorneys' fees reply
                                                                                 brief (0.25).

      1/15/2020     19929 JENNA B. CONAWAY                                                                                              089828‐0000001   58504313
                                                               0.25

                                                                                                               circulate
                                                                                 Attorney Fees Opposition briefs for D. Cross
                                                                                 (0.25);




      1/15/2020     19898 DAVID D. CROSS                                         Finalize and coordinate filing of excess pages         089828‐0000001   58501111
                                                                    4            motion (2); work on fees request and communicate
                                                                                 with team and local counsel regarding same (2);




      1/16/2020     19971 MARY G. KAISER




      1/16/2020     19898 DAVID D. CROSS                                         Work on fees request reply (1);                        089828‐0000001   58517307
                                                                    1




      1/16/2020     19929 JENNA B. CONAWAY                                                                                              089828‐0000001   58525168
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 38 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                                    Page 32
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


      Date        Initials     Name / Invoice Number        Hours       Amount                           Description                      Matter Number    Index
                                                                6.5
                                                                                                                    coordinate
                                                                                 with team members and billing specialists to
                                                                                 prepare updated fees report (1.25); coordinate
                                                                                 with secretaries to retrieve hotel invoices to
                                                                                 support lodging documentation for the Cross
                                                                                 Declaration (2.25); research opening statement
                                                                                 citation for D. Cross (0.25); review fees
                                                                                 report and highlight all related billing
                                                                                 entries for further review by A. Uhler (2.75).

      1/16/2020     20403 AUSTIN MICHAEL UHLER                                   Revise reply brief in support of attorneys'             089828‐0000001   58495416
                                                                    6            fees motion (3.75); revise D. Cross declaration
                                                                                 in support of same (0.75); review and comment
                                                                                 on H. Daniel declaration in support of same
                                                                                 (1.5); correspond with D. Cross, A. Sparks, J.
                                                                                 Conaway regarding same (0.5).

      1/17/2020     19898 DAVID D. CROSS                                                                                                 089828‐0000001   58526479
                                                                    1
                                                                                                             work on fees reply (1).

      1/17/2020     19929 JENNA B. CONAWAY                                                                                               089828‐0000001   58525157
                                                              12.25
                                                                                 review billing reports and prepare requested
                                                                                 fees summaries for A. Sparks (0.75);




                                                                                                             cite‐check,
                                                                                 proofread and fact‐check attorney fees reply
                                                                                 brief (11.5).

      1/17/2020     20403 AUSTIN MICHAEL UHLER                                   Review updated fees report and calculate                089828‐0000001   58523092
                                                               6.25              fees‐related hours for inclusion in updated fee
                                                                                 request and correspond with J. Conaway
                                                                                 regarding same (2); revise supplemental D.
                                                                                 Cross declaration in support of attorneys' fees
                                                                                 reply (1.75); revise attorneys' fees reply
                                                                                 brief and correspond with D. Cross regarding
                                                                                 same (1.25); review H. Daniel declaration and
                                                                                 correspond with A. Sparks regarding same
                                                                                 (1.25).

      1/17/2020     19971 MARY G. KAISER




      1/18/2020     20403 AUSTIN MICHAEL UHLER                                   Correspond with J. Conaway and A. Sparks                089828‐0000001   58523095
                                                               0.75              regarding expert declaration in support of
                                                                                 attorneys' fees motion.

      1/18/2020     19898 DAVID D. CROSS                                                                                                 089828‐0000001   58526488
                                                                0.5                                                        work
                                                                                 on fees reply (0.5);




      1/19/2020     19929 JENNA B. CONAWAY                                       Review and redact preliminary version of fees           089828‐0000001   58525386
                                                                1.5              report (1.5).

      1/19/2020     19898 DAVID D. CROSS                                                                                                 089828‐0000001   58526514
                                                                0.5
                                                                                                             work on fees reply (0.5);
                  Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 39 of 91
Billed and Unbilled Recap Of Time Detail [089828‐0000001 ‐ GEORGIA VOTING SYSTEM CHALLENGE]                                                              Page 33
Client:089828 ‐ CURLING, DONNA (P) 01/21/2020


      Date        Initials     Name / Invoice Number        Hours       Amount                           Description                Matter Number    Index



      1/20/2020     19929 JENNA B. CONAWAY                                       Revise fees reply brief and insert table of       089828‐0000001   58525393
                                                               1.75              contents and table of authorities (1.5);
                                                                                 coordinate with billing specialists to pull
                                                                                 updated fees report for review by A. Uhler
                                                                                 (0.25).

      1/20/2020     19898 DAVID D. CROSS                                         Review and revise draft fees reply, analyze fee   089828‐0000001   58526497
                                                               5.25              report and calculations, and communicate with
                                                                                 team and local counsel regarding same (5.25);




      1/20/2020     20403 AUSTIN MICHAEL UHLER                                   Revise attorneys' fees reply brief (3); review    089828‐0000001   58523096
                                                               5.25              underlying time documentation to ensure
                                                                                 accuracy of final request (1.75); comment on H.
                                                                                 Daniel declaration (0.5).

      1/21/2020     20403 AUSTIN MICHAEL UHLER                                   Revise reply brief in support of attorneys fees   089828‐0000001   58525158
                                                                    1            (0.5); revise supplemental D. Cross declaration
                                                                                 in support of attorneys' fees (0.25);
                                                                                 correspond with J. Conaway regarding finalizing
                                                                                 reply brief filing (0.25).
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 40 of 91




            EXHIBIT B
                 Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 41 of 91



     Fees Incurred in Connection with Fees Motion (By Date)            Additional Fees and Costs Incurred in Connection with Fees Motion (By Timekeeper) October 1, 2019 ‐ Present
Date                  Timekeeper              Hours          Fees           Timekeeper                   Role              Hours          Hourly Rate                Fees
  10/1/19 Austin Michael Uhler                   1        $490.00    David Cross                Partner                         31.5              $1,065         $33,547.50
  10/2/19 Austin Michael Uhler                 0.75       $367.50    Harold Daniel              Expert Witness                    45              $1,050         $47,250.00
  10/3/19 Austin Michael Uhler                 0.75       $367.50    Austin Uhler               Junior Associate              162.75                $490         $79,747.50
  10/7/19 Austin Michael Uhler                  2.5      $1,225.00   Jenna Conaway              Senior Paralegal                  34                $375         $12,750.00
  10/7/19 Jenna B. Conaway                     0.75       $281.25    Total                                                    273.25                            $173,295.00
  10/8/19 Austin Michael Uhler                 6.25      $3,062.50
  10/9/19 Austin Michael Uhler                  11       $5,390.00
  10/9/19 Jenna B. Conaway                       1        $375.00               Hours and Fees by Timekeeper in Fee and Cost Recovery Stage, July 28, 2019 ‐ Sept. 30, 2019
  10/9/19 David D. Cross                       1.25      $1,331.25          Timekeeper                   Role            Hours          Hourly Rate             Fees Requested
 10/10/19 Austin Michael Uhler                  4.5      $2,205.00   David D. Cross             Partner                        6.75               $1,065                   $7,188.75
 10/11/19 Austin Michael Uhler                   7       $3,430.00   Austin Uhler               Junior Associate                 30                 $490                  $14,700.00
 10/13/19 Austin Michael Uhler                   2        $980.00    Jenna Conaway              Senior Paralegal                  2                 $375                     $750.00
 10/14/19 Austin Michael Uhler                11.75      $5,757.50   Total                                                    38.75                                       $22,638.75
 10/14/19 Jenna B. Conaway                     0.25         $93.75
 10/14/19 David D. Cross                         1       $1,065.00              Hours, Fees, and Costs by Timekeeper in Fee and Cost Recovery Stage, July 28, 2019 ‐ Present
 10/15/19 David D. Cross                        1.5      $1,597.50          Timekeeper                    Role             Hours         Hourly Rate         Fees or Costs Requested
 10/15/19 Jenna B. Conaway                     9.75      $3,656.25   David D. Cross             Partner                        38.25              $1,065                   $40,736.25
 10/15/19 Austin Michael Uhler                11.75      $5,757.50   Harold T. Daniel           Expert Witness                    45              $1,050                   $47,250.00
 10/16/19 Austin Michael Uhler                  5.5      $2,695.00   Austin Uhler               Junior Associate              192.75                $490                   $94,447.50
 10/16/19 David D. Cross                        0.5       $532.50    Jenna Conaway              Senior Paralegal                  36                $375                   $13,500.00
 11/14/19 David D. Cross                       0.75       $798.75    Total                                                       312                                     $195,933.75
 11/14/19 Austin Michael Uhler                 1.25       $612.50
 11/15/20 Austin Michael Uhler                 5.75      $2,817.50
 11/15/19 David D. Cross                         1       $1,065.00
 11/16/19 Austin Michael Uhler                  1.5       $735.00
11/17/19 Austin Michael Uhler                 4.75      $2,327.50
11/18/19 Austin Michael Uhler                 0.75       $367.50
11/18/19 David D. Cross                        2        $2,130.00
11/19/19 Austin Michael Uhler                  1         $490.00
11/20/19 Austin Michael Uhler                 9.75      $4,777.50                                      $3,562,471.25 originally claimed fees
11/21/19 Austin Michael Uhler                  2         $980.00                                         $126,045.00 fees on fees
11/22/19 Austin Michael Uhler                 1.75       $857.50                                          ‐$46,736.25 fees re press
11/24/19 Austin Michael Uhler                 1.5        $735.00                                       $3,641,780.00 revised claimed feees
11/25/19 Austin Michael Uhler                 5.75      $2,817.50
12/10/19 Austin Michael Uhler                 1.5        $735.00
12/11/19 Austin Michael Uhler                 1.5        $735.00
12/12/19 Austin Michael Uhler                 0.25       $122.50
12/17/19   Austin Michael Uhler                2.5      $1,225.00
12/18/19   Austin Michael Uhler                4.5      $2,205.00
12/19/19   Austin Michael Uhler                 1        $490.00
12/20/19   Austin Michael Uhler               2.75      $1,347.50
12/22/19   Austin Michael Uhler                 1        $490.00
12/22/19   David D. Cross                      0.5       $532.50
12/23/19   Austin Michael Uhler                7.5      $3,675.00
12/23/19   David D. Cross                      0.5       $532.50
12/24/19   Austin Michael Uhler                 4       $1,960.00
12/27/19   David D. Cross                       1       $1,065.00
12/28/19   Austin Michael Uhler                0.5       $245.00
12/29/19   Austin Michael Uhler               7.25      $3,552.50
12/30/19   Austin Michael Uhler                 3       $1,470.00
12/31/19   Austin Michael Uhler               0.25       $122.50
  1/3/20   David D. Cross                     0.75       $798.75
  1/5/20   David D. Cross                     2.25      $2,396.25
  1/6/20   Austin Michael Uhler                3.5      $1,715.00
  1/8/20   Austin Michael Uhler               0.25       $122.50
  1/8/20   David D. Cross                       1       $1,065.00
  1/9/20   David D. Cross                     1.25      $1,331.25
 1/10/20   David D. Cross                      0.5       $532.50
 1/13/20   David D. Cross                       1       $1,065.00
 1/14/20   David D. Cross                      2.5      $2,662.50
 1/15/20   Austin Michael Uhler               1.25       $612.50
 1/15/20   Jenna B. Conaway                   0.25        $93.75
 1/15/20   David D. Cross                       4       $4,260.00
 1/16/20   Austin Michael Uhler                6.5      $3,185.00
 1/16/20   David D. Cross                       1       $1,065.00
 1/16/20   Jenna B. Conaway                    6.5      $2,437.50
 1/17/20   Jenna B. Conaway                  12.25      $4,593.75
 1/17/20   Austin Michael Uhler               6.25      $3,062.50
 1/17/20   David D. Cross                       1       $1,065.00
 1/18/20   Austin Michael Uhler               0.75       $367.50
 1/18/20   David D. Cross                      0.5       $532.50
 1/19/20   David D. Cross                      0.5       $532.50
 1/19/20   Jenna B. Conaway                    1.5       $562.50
 1/20/20   Jenna B. Conaway                   1.75       $656.25
 1/20/20   Austin Michael Uhler               5.25      $2,572.50
 1/20/20   David D. Cross                     5.25      $5,591.25
 1/21/20   Austin Michael Uhler                 1        $490.00
           Total                             228.25    $126,045.00
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 42 of 91




           EXHIBIT C
            Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 43 of 91



                                                       Summary of Press‐Related Fees and Expenses
      Date                Timekeeper                             Relevant Excerpt of Time Entry                         Hours*         Fees at Standard Rate
       4/17/2018   Rob Manoso                 Draft press release                                                            2.75                    $2,200.00
       4/30/2018   Rob Manoso                 Revise potential press release                                                 0.25                      $200.00
        5/1/2018   Rob Manoso                 Attention to press efforts                                                      1.5                    $1,200.00
        5/1/2018   David D. Cross             Respond to press inquiries re case and hearing                                 1.75                    $1,863.75
        5/2/2018   David D. Cross             Respond to press inquiries re case and hearing                                    1                    $1,065.00
        5/3/2018   David D. Cross             Respond to press inquiries re case and hearing                                 0.75                      $798.75
        5/7/2018   David D. Cross             Respond to press inquiries                                                     0.75                      $798.75
       5/11/2018   David D. Cross             Respond to press inquiries                                                     0.75                      $798.75
       5/14/2018   David D. Cross             Respond to press inquiries                                                      0.5                      $532.50
       5/17/2018   David D. Cross             Respond to press inquiries                                                     0.75                      $798.75
       5/18/2018   David D. Cross             Respond to press inquiries                                                      0.5                      $532.50
       5/21/2018   David D. Cross             Respond to press inquiries                                                        1                    $1,065.00
                                              Respond to questions from public relations team, reporters
       5/21/2018   Catherine L. Chapple       regarding agreement                                                            0.75                       $600.00
        6/1/2018   David D. Cross             Handle press inquiries                                                         0.75                       $798.75
       7/26/2018   David D. Cross             Respond to press inquiries                                                      0.5                       $532.50
        8/9/2018   David D. Cross             Respond to press inquiries                                                     0.75                       $798.75
       8/10/2018   David D. Cross             Respond to press inquiries                                                     0.75                       $798.75
       8/11/2018   David D. Cross             Attention to press inquiries and press release                                    1                      $1,065.00

       8/14/2018 David D. Cross               Respond to press inquiries and correspond with expert re same                        1                   $1,065.00
       8/15/2018 David D. Cross               Respond to press inquiries                                                           3                   $3,195.00

                                              Prepare preliminary injunction briefing filed by Curling Plaintiffs and
       9/11/2018 Jenna B. Conaway             Defendants to D. Richards (press ‐ WXIA)                                             1                    $375.00

       9/14/2018   Jenna B. Conaway           Prepare materials for D. Vohden regarding press request                        0.25                         $93.75
       10/1/2018   David D. Cross             Respond to press inquiry                                                          1                      $1,065.00
       10/2/2018   David D. Cross             Press interview; respond to press inquiries                                     1.5                      $1,597.50
       10/3/2018   David D. Cross             Respond to press inquiries                                                     1.25                      $1,331.25
       10/5/2018   David D. Cross             Respond to press inquiries                                                     0.75                       $798.75
      10/10/2018   David D. Cross             Respond to press inquiries                                                        1                      $1,065.00
      10/12/2018   David D. Cross             Respond to press inquiries                                                      0.5                       $532.50
      10/16/2018   David D. Cross             Respond to press inquiry                                                        0.5                       $532.50
      10/25/2018   David D. Cross             Respond to press inquiries                                                      0.5                       $532.50
      10/26/2018   David D. Cross             Respond to press inquiry                                                       0.25                       $266.25
      10/29/2018   David D. Cross             Respond to press inquiry                                                       0.25                       $266.25
      10/30/2018   David D. Cross             Respond to press inquiry                                                       0.25                       $266.25
       11/1/2018   David D. Cross             Communicate with press regarding election issues                                0.5                       $532.50

       11/4/2018 David D. Cross               Communicate with . . . press regarding [whistleblower report]                        1                   $1,065.00

       11/5/2018 David D. Cross               Communicate with . . . press regarding [whistleblower report]                        1                   $1,065.00

       11/7/2018   David D. Cross             Communicate with . . . press regarding [whistleblower report]                   1.5                      $1,597.50
       11/8/2018   David D. Cross             Communicate with press                                                          1.5                      $1,597.50
       11/9/2018   David D. Cross             Further communicate with press                                                 1.25                      $1,331.25
      11/12/2018   David D. Cross             Communicate with press                                                          1.5                      $1,597.50
      11/13/2018   David D. Cross             Communicate with press                                                         0.75                       $798.75
      11/14/2018   David D. Cross             Communicate with press                                                         0.75                       $798.75
      11/15/2018   David D. Cross             Communicate with press                                                         0.75                       $798.75
      11/16/2018   David D. Cross             Communicate with press                                                          0.5                       $532.50
      11/19/2018   David D. Cross             Communicate with press                                                          0.5                       $532.50
        2/7/2019   David D. Cross             Communicate with press                                                          0.5                       $532.50
        2/8/2018   David D. Cross             Communicate with press                                                         0.25                       $266.25
       5/21/2019   David D. Cross             Communicate with . . . press re [MTD decision]                                 0.75                       $798.75
                                              Communicate with . . . press re [MTD decision] and re PI motion
       5/22/2019 David D. Cross               strategy                                                                       0.75                       $798.75

       5/23/2019 David D. Cross               Communicate with . . . press re implications for case strategy                  0.5                        $532.50
       7/10/2019 David D. Cross               Respond to press inquiries                                                        1                      $1,065.00
       7/11/2019 David D. Cross               Respond to press inquiries                                                        1                      $1,065.00
                                              Subtotal of fees                                                                46                      $46,736.25
      Date              Timekeeper                                  Description of Expense                                                     Cost
       8/17/2018 David D. Cross               Long‐distance telephone for press interview                                                                $112.78
                                              Total of fees and expenses                                                                              $46,849.03

*Estimated by dividing single time entry equally by number of separable tasks (where not separately itemized in billing records)
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 44 of 91




           EXHIBIT D
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 45 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 46 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 47 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 48 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 49 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 50 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 51 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 52 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 53 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 54 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 55 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 56 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 57 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 58 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 59 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 60 of 91




                                                                662.30
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 61 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 62 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 63 of 91




          SLIPSHEET
                Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 64 of 91




W Atlanta - Midtown
188 14th Street NE
Atlanta, GA 30361
United States
Tel: 404-892-6000 Fax: 404-892-7943


CATHERINE CHAPPLE                                           Page Number            :      1            Invoice Nbr          :   621896
                                                            Guest Number           :      1091690
                                                            Folio ID               :      A
                                                            Arrive Date            :      08-APR-19     21:52
                                                            Depart Date            :      09-APR-19     10:58
                                                            No. Of Guest           :      1
                                                            Room Number            :      1721
                                                            Marriott Bonvoy Number :


                                                            Copy Tax Invoice


Tax ID :
W Atlanta - Mi ATLMW APR-18-2019 11:11 ACPHI100
Date          Reference   Description                                                  Charges (USD)        Credits (USD)


08-APR-19    RT1721         Room Chrg - Special Corp                                          404.00
08-APR-19    RT1721         State Tax                                                          35.96
08-APR-19    RT1721         City/Local Tax                                                     32.32
08-APR-19    RT1721         GA Hotel Fee                                                        5.00


                                                                                               477.28




                                                   Continued on the next page
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 65 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 66 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 67 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 68 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 69 of 91




          SLIPSHEET
                Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 70 of 91



W Atlanta - Midtown
188 14th Street NE
Atlanta, GA 30361
United States
Tel: 404-892-6000 Fax: 404-892-7943


JANE BENTROTT                                                  Page Number            :      1             Invoice Nbr             :   640153
                                                               Guest Number           :      1109533
                                                               Folio ID               :      A
                                                               Arrive Date            :      26-JUN-19      18:17
                                                               Depart Date            :      27-JUN-19      11:01
                                                               No. Of Guest           :      1
                                                               Room Number            :      1615
                                                               Marriott Bonvoy Number :      6943


                                                               Information Invoice



W Atlanta - Mi ATLMW JUN-27-2019 03:50 9999
Date          Reference   Description                                                     Charges (USD)         Credits (USD)
26-JUN-19 10060           In Room Dining                                                           28.27
26-JUN-19 RT1615          Room Chrg - Special Corp                                                251.00
26-JUN-19 RT1615          State Tax                                                                22.34
26-JUN-19 RT1615          City/Local Tax                                                           20.08
26-JUN-19 RT1615          GA Hotel Fee                                                              5.00
JUN-27-2019 MC            MasterCard/Euro                                                                                -326.69


             Approve EMV Receipt for MC - 8417: Signature Captured
             TC:A1A3C7ABA286A095 TVR:0000008000
             Application Label:MasterCard



                                      ** Total                                                   326.69                  -326.69
                                       ** Total Value Added Tax 7%                                 0.00                     0.00
                                      *** Balance                                                 -0.00




                                                     Continued on the next page
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 71 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 72 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 73 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 74 of 91




                                                      346.35
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 75 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 76 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 77 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 78 of 91




                                                              1,371.98
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 79 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 80 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 81 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 82 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 83 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 84 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 85 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 86 of 91




          SLIPSHEET
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 87 of 91
Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 88 of 91




          SLIPSHEET
                 Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 89 of 91


Conaway, Jenna B.

From:                                 Jenna Conaway <jenna.conaway@gmail.com>
Sent:                                 Friday, August 2, 2019 4:25 PM
To:                                   Conaway, Jenna B.
Subject:                              Fwd: Your Jul 24, 2019 - Jul 26, 2019 stay at the Atlanta Marriott Suites Midtown




- External Email -


---------- Forwarded message ---------
From: Thanks for staying! <efolio@marriott.com>
Date: Fri, Aug 2, 2019 at 4:23 PM
Subject: Your Jul 24, 2019 - Jul 26, 2019 stay at the Atlanta Marriott Suites Midtown
To: <JENNA.CONAWAY@gmail.com>




    Thank you for choosing the Atlanta Marriott Suites Midtown for your recent stay.

As requested, below is a billing summary or adjustment for your stay. If you have questions about your bill,
please contact us at (404) 876-8888 or mhrs.atlms.customer.inquiry@marriott.com. Make another reservation
on Marriott.com
https://marriott.com/search/cwsearch.mi?ignore=true&WT_Ref=eFolio

Marriott Bonvoy™ members may receive this email automatically after every stay. Join Marriott Bonvoy™
today:
https://marriott.com/rewards/createAccount/createAccountPage1.mi?WT_Ref=MI_Home

 Summary of Your Stay
-----------------------------------------------------------------------------------------------------------------------
 Hotel:        Atlanta Marriott Suites Midtown
                  35 14th Street NE
                  Atlanta, Georgia 30309
                  USA
                  (404) 876-8888

Guest:         CONAWAY/JENNA

               ,
               USA
Dates of stay: Jul 24, 2019 - Jul 26, 2019

Room number: 1706
Guest number: 39697
                                                                   1
                 Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 90 of 91

Group number:
Marriott Bonvoy™ number: None

Date            Description                             Reference           Charges        Credits
-----------------------------------------------------------------------------------------------------------------------
07/24/19          ROOM                                    1706, 1            359.00

07/24/19          STATE TX                                  1706, 1           31.95

07/24/19          LOCAL TX                                  1706, 1            28.72

07/24/19          GA RMFEE                                   1706, 1           5.00

07/25/19          ROOM                                   1706, 1            359.00

07/25/19          STATE TX                                  1706, 1           31.95

07/25/19          LOCAL TX                                  1706, 1            28.72

07/25/19          GA RMFEE                                   1706, 1           5.00

07/26/19       Payment - Visa                                                         849.34
             XXXXXXXXXXXX8595

-----------------------------------------------------------------------------------------------------------------------
Total balance                                                                  0.00 USD
-----------------------------------------------------------------------------------------------------------------------
Was that the best night's sleep you've ever had? How about a repeat performance at your place!
ShopMarriott.com = http://www.shopmarriott.com/redirect.aspx?p=0802002&t=/&m=ATLMS

-----------------------------------------------------------------------------------------------------------------------


Important Information
-----------------------------------------------------------------------------------------------------------------------
* Do Not Reply to this Email This email is an auto-generated message. Replies to automated messages are not
monitored. If you have any questions please contact the hotel directly at (404) 876-8888. * Why Have I
Received this Email?
You have received this email because you requested during your stay to receive an electronic version of your
bill by email.

 * Availability
Electronic versions of your hotel bill, available by email from our over 2,300 participating properties in the
Marriott family of hotels in the USA and Canada, are emailed to you within 72 hours of check-out. These email
messages reflect changes made to your bill up to 11pm on your day of departure. Any adjustments after that
time may not be shown. If you have received this email in error, please notify us:
https://marriott.com/suggest/suggest.mi?WT_Ref=eResConfo Learn more about receiving your hotel bills by
email:
http://marriott.com/rewards/eFolioAbout.mi
 * Authenticity of Bills
Marriott retains official records of all charges and credits to your account and will honor only those records.
                                                                   2
                Case 1:17-cv-02989-AT Document 706-1 Filed 01/21/20 Page 91 of 91

 * Privacy
Your privacy is important to Marriott. For full details of our privacy policy, please visit our Privacy Statement:
https://marriott.com/privacy.mi
 * Credit of Marriott Bonvoy™ Points After a stay, it may take up to 7 days for Marriott Bonvoy™ points to be
credited to your account.


-----------------------------------------------------------------------------------------------------------------------
(c)1996-2012 Marriott International, Inc. All rights reserved. Marriott proprietary information. Operated under
license from Marriott International, Inc. or one of its affiliates.




                                                           3
